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17
                                 UNITED STATES DISTRICT COURT
18
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
19
                                        OAKLAND DIVISION
20
      WHATSAPP LLC, and                 )
21    META PLATFORMS INC.,              )             Case No. 4:19-cv-07123-PJH
                                        )
22                                      )
                      Plaintiffs,       )             ADMINISTRATIVE MOTION TO
23                                      )             FILE UNDER SEAL
             v.                         )
24                                      )             Ctrm: 3
      NSO GROUP TECHNOLOGIES LIMITED )                Judge: Hon. Phyllis J. Hamilton
25    and Q CYBER TECHNOLOGIES LIMITED, )
                                        )
26                                      )
                      Defendants.       )             Action Filed: October 29, 2019
27                                      )
                                        )
28
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 1          TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

 2          PLEASE TAKE NOTICE that, pursuant to Northern District of California Local Rules 7-11

 3   and 79-5, Plaintiffs WhatsApp LLC (“WhatsApp”) and Meta Platforms, Inc. (together, “Plaintiffs”)

 4   by and through their counsel, respectfully submit this Administrative Motion for an order permitting

 5   them to file under seal certain portions of Exhibits 3, 4, 12, 26, and 34 to the Declaration of Micah

 6   G. Block in Support of Plaintiffs’ Motion for Partial Summary Judgment (the “Block Declaration”),

 7   certain portions of Exhibit A to the Declaration of Meghan Andre in support of Plaintiffs’ Motion for

 8   Partial Summary Judgment (the “Andre Declaration”), and Exhibits 18, 19, and 28 to the Block

 9   Declaration (collectively, the “Materials”).

10          The appropriate standard for sealing on a motion for summary judgment is “compelling

11   reasons.” Am. Auto. Ass’n of N. California, Nevada & Utah v. Gen. Motors LLC, No. 17-CV-

12   03874-LHK, 2019 WL 1206748, at *2 (N.D. Cal. Mar. 14, 2019). “The Ninth Circuit has found

13   that compelling reasons exist to keep personal information confidential to protect an individual’s

14   privacy interest and to prevent exposure to harm or identity theft.” Nursing Home Pension Fund v.

15   Oracle Corp., 2007 WL 3232267, at *1 (N.D. Cal. Nov. 1, 2007) (citing Foltz v. State Farm Mut.

16   Auto. Ins. Co., 331 F.3d 1122, 1134 (9th Cir. 2003)).

17          Plaintiffs submit that compelling reasons exist to seal the Materials to protect the

18   confidential information and privacy interests of Plaintiffs’ individual employees and users.

19   Exhibit 3, 4, and 12 to the Block Declaration contain the names of certain of Plaintiffs’ non-

20   testifying employees whose identities are not pertinent to any issue, claim, or defense in this action.

21   “[R]edaction of [their] identifying information is particularly appropriate here, because the public’s

22   interest in the name of [an employee] is likely insignificant, as the exact name is irrelevant to the

23   legal issues in this case.” O’Connor v. Uber Techs., Inc., 2015 WL 355496, at *2 (N.D. Cal. Jan.

24   27, 2015); see also Ehret v. Uber Techs., Inc., 2015 WL 12977024, at *3 (N.D. Cal. Dec. 2, 2015)

25   (“While the . . . employees are employed by a party in this case and have a lower privacy interest,

26   their specific e-mail addresses are not relevant to the merits of the motion of this case.”). In

27   addition, the public disclosure of Plaintiffs’ employees’ names in connection with litigation has

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 1   sometimes been followed by harassment, online threats, and/or suspicious phone calls, text-

 2   messages or emails, particularly in cases with significant media attention. There is little, if any

 3   public interest, in those identities, so the private interests justify sealing.

 4           Exhibits 12, 26, and 34 to the Block Declaration contain the individual compensation of

 5   several of Plaintiffs’ employees. This is sensitive, personal information that is not available to the

 6   public, nor are the details pertinent to the issues raised in Plaintiffs’ Motion for Partial Summary

 7   Judgment. The release of this information could harm the privacy interests of the listed individuals.

 8   See Ehret, 2015 WL 12977024, at *2 (holding that names and individual earnings may be redacted

 9   under both the good cause and compelling reasons standard as the information “concerns privacy

10   interests”).

11           Exhibits 18, 19, and 28 to the Block Declaration, and Exhibit A to the Andre Declaration

12   contain the phone numbers, IP addresses, and other identifiers associated with certain non-party

13   WhatsApp users. This is confidential personally identifying information that is not available to the

14   public. The release of this information could harm the privacy interests of the identified

15   individuals. See Am. Auto, 2019 WL 1206748, at *2 (N.D. Cal. Mar. 14, 2019) (granting motion to

16   seal individual names, addresses, phone numbers, and email addresses); Activision Publ’g, Inc. v.

17   Engine Owning UG, 2023 WL 2347134, at *1 (C.D. Cal. Feb. 27, 2023) (finding compelling

18   reasons “to seal the various parties’ customers’ personal information, which includes . . . IP

19   addresses, email addresses, and/or customer activities on certain platforms, in order to protect the

20   customers’ privacy.”).

21           For the foregoing reasons, Plaintiffs respectfully request permission to file portions of

22   Exhibits 3, 4, 12, 26, and 34 to the Block Declaration, portions of Exhibit A to the Andre Declaration,

23   and Exhibits 18, 19, and 28 to the Block Declaration under seal. The proposed sealing is narrowly

24   tailored and seeks only to protect those portions of the documents that contain sensitive and

25   confidential personal information about Plaintiffs’ individual employees or users.

26           This motion and copies of any relevant attachments will be served on counsel of record as

27   listed in the attached certificate of service.

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 2    Dated: September 27, 2024                 Respectfully Submitted,

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